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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                      )               CASE NO. 20-60681-JWC
                                            )
JOHN JOSEPH OLIGA and                       )               CHAPTER 7
JEANINE BARKER OLIGA,                       )
                                            )
       Debtors.                             )
                                            )
                                            )
S. GREGORY HAYS, Trustee for the            )
Bankruptcy Estates of John Joseph Oliga and )
Jeanine Barker Oliga,                       )
                                            )
       Movant,                              )               CONTESTED MATTER
                                            )
V.                                          )
                                            )
DEKALB COUNTY TAX COMMISSIONER, )
JOHN JOSEPH OLIGA and                       )
JEANINE BARKER OLIGA,                       )
                                            )
       Respondents.                         )
                                            )


   NOTICE OF TRUSTEE’S MOTION FOR AUTHORITY TO (I) SELL AT PUBLIC
AUCTION PROPERTY OF THE BANKRUPTCY ESTATE FREE AND CLEAR OF LIENS,
 INTERESTS, AND ENCUMBRANCES AND (II) DISBURSE CERTAIN PROCEEDS AT
           CLOSING; DEADLINE TO OBJECT; AND FOR HEARING

         PLEASE TAKE NOTICE that on June 14, 2022, S. Gregory Hays, as Chapter 7 Trustee

(“Trustee”) for the bankruptcy estates (collectively, the “Bankruptcy Estate”) of John Joseph

Oliga and Jeanine Barker Oliga (“Debtors”), filed Trustee’s Motion for Authority to (I) Sell at

Public Auction Property of the Bankruptcy Estate Free and Clear of Liens, Interests, and

Encumbrances and (II) Disburse Certain Proceeds at Closing [Doc. No. 75] (the “Sale Motion”)

with the Court, seeking, among other things, an order from the Court authorizing the sale of two

(2) real properties known generally as: (a) 2471 Saint Patrick Street, SE, Atlanta, DeKalb County,



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Georgia 30317, and (b) 2475 East Tupelo Street, SE, Atlanta, DeKalb County, Georgia Saint

Patrick Street, SE, Atlanta, Georgia 30317 f.k.a. as 2475 Saint Patrick Street, SE, Atlanta, Georgia

30317 (together, the “Properties”) at public auction, pursuant to 11 U.S.C. §§ 363(b), (f), and (m),

and Fed. R. Bankr. P. 2002(a)(2), 6004(a), 6004(c), and 9014 (the “Sale”). The exact terms of the

Sale is set forth in the Sale Motion. The auction will occur within thirty (30) to sixty (60) days of

the Court’s order approving the Sale. Upon further application to the Court, the auctioneer will be

paid a seven percent (7%) commission, plus out-of-pocket expenses not to exceed $500.00.

        Pursuant to Second Amended and Restated General Order No. 24-2018, the Court may

consider this matter without further notice or a hearing if no party in interest files a response or

objection within twenty-one (21) days from the date of service of this notice (the “Objection

Deadline”). If you object to the relief requested in the Sale Motion, you must timely file your

objection with the Bankruptcy Clerk at: Bankruptcy Clerk, U.S. Bankruptcy Court, Suite 1340,

75 Ted Turner Drive, S.W., Atlanta, Georgia 30303, and serve a copy on the Trustee's attorney,

Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, Georgia

30363, and any other appropriate persons by the Objection Deadline. The response or objection must

explain your position and be actually received by the Bankruptcy Clerk within the required time.

        A hearing on the Sale Motion has been scheduled for July 28, 2022. The Court will hold

an initial telephonic hearing for announcements on the Sale and Settlement Motion at the following

number: 833-568-8864 US Toll-free Meeting ID: 160 459 5648 at 11:00 a.m. in in Courtroom

1203, United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia.

        Matters that need to be heard further by the Court may be heard by telephone, by video

conference, or in person, either on the date set forth above or on some other day, all as determined

by the Court in connection with this initial telephonic hearing. Please review the “Hearing



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Information” tab on the judge’s webpage, which can be found under the “Dial-in and Virtual

Bankruptcy Hearing Information” link at the top of the webpage for this Court,

www.ganb.uscourts.gov for more information.

        If an objection or response is timely filed and served, the hearing will proceed as scheduled.

If you do not file a response or objection within the time permitted, the Court may grant the

relief requested without further notice or hearing provided that an order approving the relief

requested is entered at least one business day prior to the scheduled hearing. If no objection is timely

filed, but no order is entered granting the relief requested at least one business day prior to the hearing,

the hearing will be held at the time and place as scheduled.

        Your rights may be affected. You should read these papers carefully and discuss them

with your attorney, if you have one in this bankruptcy case. If you do not have an attorney,

you may wish to consult one.

        Dated: June 14, 2022.
                                                 ARNALL GOLDEN GREGORY LLP
                                                 Attorneys for Trustee

                                                 By:      /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                           Michael J. Bargar
Atlanta, GA 30363                                         Georgia Bar No. 645709
404-873-7031                                              michael.bargar@agg.com




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